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 9
                              UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA

11
     EVA GRAUSZ, on behalf of herself, all        Case No: 23-cv-93-DSF-AS
12   others similarly situated, and the general
     public,
13
                        Plaintiff,                PLAINTIFF’S NOTICE OF
                  v.                              VOLUNTARY DISMISSAL OF THE
14
                                                  ACTION WITHOUT PREJUDICE
     TRADER JOE’S COMPANY,
15                                                [Fed. R. Civ. P. 41(a)(1)(A)(i)]
                        Defendant.
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                   Grausz v. Trader Joe’s Company, Case No. 23-cv-93-DSF-AS
                                 NOTICE OF VOLUNTARY DISMISSAL
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 1         TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD, PLEASE

 2   TAKE NOTICE THAT: Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Eva Grausz

 3   voluntarily dismisses this action without prejudice.

 4

 5   Dated: January 31, 2023                      /s/ Trevor Flynn
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                   Grausz v. Trader Joe’s Company, Case No. 23-cv-93-DSF-AS
                                 NOTICE OF VOLUNTARY DISMISSAL
